Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 1 of 21 PageID #:1238




                                 EXHIBIT 15
                                      Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 2 of 21 PageID #:1239
Office of
Inspector General
Chicago Board of Education
Nicholas Schuler, Inspector General
______________________________________________________________________________________________________________________________




                                                   Wednesday, April 24, 2019

               Presentation to the Board of Education of the City of Chicago

                                      OIG Investigations of Sexual Allegations



                                      (833) TELL CPS              cpsoig.org            (773) 534-9418
                                Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 3 of 21 PageID #:1240



                               OIG Cases 10/01/18 to 03/31/19
• 313 Total Cases



• 2.95 per school day



• 1.73 per calendar
  day


 Office of Inspector General                     Presentation to the Chicago Board of Education re:
                                                                                                                   April 24, 2019
 Chicago Board of Education                           OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 4 of 21 PageID #:1241




Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                 April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 5 of 21 PageID #:1242



     Additional Resources Since January Presentation
The OIG has requested, and the Board agreed to provide, 10
additional positions to the Sexual Allegations Unit:
• A triage team, which will field all complaints from the hotline,
  Verify, and other sources; complete intake process; and help assess
  the urgency and priority of complaints.
• Additional investigators, who will reduce average case load,
  making investigations quicker and more efficient.
• Additional attorneys, who will help write reports to the Board and
  assist the Chief and Deputy Chief Investigator in managing the Unit
  and writing policy.

Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                 April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                                     Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 6 of 21 PageID #:1243

                                   OIG Sexual Allegations Categories
Sexual Act                                                • Penetration

Sexual Abuse                                              • Physical conduct for sexual gratification, e.g., groping, fondling

Sexual Comment – In Person                                • Unambiguously sexual comment to student

Grooming                                                  • Actions to break down inhibitions for the purpose of sexual conduct

Sexual Electronic Communication
                                                          • Sexual text messages, emails, or other communications
(“Sexting”)

Touching: Less than Sexual Abuse                          • Touching of a possible (not obvious) sexual nature

Concerning: Other                                         • Leering, “creepy” behavior or other potentially concerning behavior

Student-on-Staff Inappropriate
                                                          • Students initiating concerning behavior towards a staff member
Conduct
Outcry about Old Conduct                                  • Recent outcry about allegations from several years ago

     Office of Inspector General                      Presentation to the Chicago Board of Education re:
                                                                                                                        April 24, 2019
     Chicago Board of Education                            OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 7 of 21 PageID #:1244




             Examples of Concerning: Other Allegations
Generally inappropriate conduct by an adult. While this category
functions as a catch-all for complaints that do not fit another category,
some of the complaints in this category are very serious. Common
allegations that are categorized as Concerning: Other are:
• Making students feel uncomfortable,
• Looking at students’ bodies inappropriately,
• Verbal communication that is not clearly sexual, but is inappropriate,
• Being overly friendly or “creepy,”
• Use of electronics or social media that does not fall into the Grooming or
  Sexual Electronic Communication categories, but is not acceptable use.

Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                 April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 8 of 21 PageID #:1245




Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                 April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
         Allegation Category Changes Since January 23,
                                 Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 9 of 21 PageID #:1246




                 2019 OIG Presentation to Board
                                         Percent of Allegations                 Percent of Allegations
             Category                                                                                               Change
                                         10/01/18 to 01/09/19                   10/01/18 to 03/31/19
Sexual Act                                            3%                                      6%                     +3%

Sexual Abuse                                         11%                                      11%                     —

Sexual Comment - in Person                            7%                                      7%                      —

Grooming                                             11%                                      13%                    +2%
Sexual Electronic Communication
                                                      1%                                      1%                      —
("Sexting")
Touching: Less than Sexual Abuse                     10%                                      9%                     -1%

Concerning: Other                                    49%                                      46%                    -3%
Student-on-Staff Inappropriate
                                                      3%                                      4%                     +1%
Conduct
Outcry about Old Conduct                              5%                                      3%                     -2%



Office of Inspector General                       Presentation to the Chicago Board of Education re:
                                                                                                                           April 24, 2019
Chicago Board of Education                             OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 10 of 21 PageID #:1247




Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 11 of 21 PageID #:1248




Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 12 of 21 PageID #:1249




Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 13 of 21 PageID #:1250




Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 14 of 21 PageID #:1251

          Charter vs. District Sexual Allegation Reporting Rates
                          10/01/18 to 03/31/19
All figures exclude 3 Cases: two unknown or N/A and 1 related to an ALOP
school.
                                                           District (Includes
                                          Charter
                                                          AUSL and Contract)
                                                                                            The district rate of 95.8
                                                                                            allegations reported per
 20th Day Enrollment                     53,357         307,957
                                                                                            100,000 students, applied to the
 % of Total CPS Enrollment               15%            85%                                 charter student population of
 Allegations 10/01/2018 to               15             295                                 53,357, produces a projection
 03/31/2019
                                                                                            of 51.1 allegations, 36.1 more
 % of Total Allegations                  5%             95%                                 than the 15 allegations actually
 Allegations per 100,000                 28.1           95.8                                reported by charter schools.
 Students

The district allegations reported rate per 100,000 students is 3.41 times the
charter allegations reported rate per 100,000 students.
Office of Inspector General                     Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                           OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 15 of 21 PageID #:1252




                  Concern about Charter Reporting Rates
• As noted in the previous slide, charter reporting rates are 3.41
  times lower per 100,000 students than district reporting rates,
  and if charters reported at the district rate, we would have 51
  charter cases rather than 15.
• This suggests that incidents at charter schools may be under-
  reported.
• Under-reporting would prevent students from receiving needed
  supports and either prevent an independent, professional
  investigation from taking place or prevent investigation entirely.
• OSP is expanding their training this spring to include charters,
  which will hopefully increase awareness and compliance.

Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                                Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 16 of 21 PageID #:1253

         Top Five District Job Categories by Allegations 10/01/18 to
          03/31/19 (Excludes Charter Employees with these Titles)
1. Teacher — 138 allegations — Approximately 19,000 positions — 0.72% subject
   of complaint.
2. Security Guard — 44 allegations — Approximately 1,700 positions — 2.50%
   subject of complaint.
3. Vendor Employee — 22 allegations
4. Substitute Teacher — 19 allegations
5. Special Education Classroom Assistant (SECA) — 16 allegations —Approximately
   4,000 positions — 0.40% subject of complaint.
67 other people are subjects of cases at district schools, including 8 Bus Personnel, 8
Principals, 4 Assistant Principals, and 47 people with various other job titles. There
are 306 subjects of 296 investigations at district schools.

  Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                    April 24, 2019
  Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 17 of 21 PageID #:1254


      19 Alleged Sex Act Cases 10/01/18 to 03/31/19
5 CPS adults charged or indicted:

• 1 custodian was charged with aggravated criminal sexual abuse (of a neighbor, who was a CPS student),
• 1 bus driver was charged with criminal sexual abuse involving family members (who were CPS students),
• 1 dean/coach charged with criminal sexual assault of two students,
• 1 former CPS employee was indicted on aggravated criminal sexual abuse, sexual exploitation of a child, and
  grooming (charged since January),
• 1 teacher charged with criminal sexual abuse of a former CPS student (charged since January).

5 active CPD investigations, including one adult-on-adult case also being investigated by the OIG at the request of the
Board.

5 cases suspended by CPD.

1 case unfounded by CPD.

3 cases not being investigated by CPD (1 unknown subject, 1 rumor, one old allegation with no current allegations).
Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                               Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 18 of 21 PageID #:1255

                               33 Alleged Sexual Abuse Cases
                              10/01/18 to 03/31/19 (25 Open)
3 Adults charged by the police:

• 1 teacher indicted on 5 counts of aggravated criminal sexual abuse (for groping),
• 1 vendor employee charged with aggravated criminal sexual abuse and sexual exploitation of a child
  on school grounds (exposing and touching), and other charges added for past acts occurring off school
  grounds for which he was not previously charged,
• 1 misdemeanor battery (charged since January)

7 active CPD investigations,

5 cases suspended by CPD,

3 cases unfounded by CPD,

7 cases that CPD is not investigating

8 OIG cases closed (1 substantiated)
Office of Inspector General                     Presentation to the Chicago Board of Education re:
                                                                                                                   April 24, 2019
Chicago Board of Education                           OIG Investigations of Sexual Allegations
                               Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 19 of 21 PageID #:1256

                   Actions Pertaining to OIG Investigations
                            (As of April 23, 2019)
              • 76 adults pulled from school pending investigation (5 additional,
Pulled          previously pulled adults have been reinstated)

              • 10 substitute teachers blocked from teaching in CPS
Blocked



              • 8 employees under investigation have retired or resigned
Retired



              • 14 employees terminated from their positions
 Fired


 Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                   April 24, 2019
 Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 20 of 21 PageID #:1257




      76 Adults Currently Pulled (As of April 23, 2019)

             34 Teachers                                                   4 Bus Drivers or Aides
             13 Security Guards                                            4 Custodial Workers
             6 Vendor Employees                                            3 Deans (2 charter, 1 CPS
                                                                           School Culture Coordinator)
             5 SECAs                                                       7 Others



Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
                              Case: 1:19-cv-08145 Document #: 69-15 Filed: 04/09/21 Page 21 of 21 PageID #:1258




      14 Adults Terminated (As of April 23, 2019)
• 6 Security Guards

• 2 Coaches

• 1 each: Dean, Lunch Monitor, SECA, Substitute Teacher, Teacher,
  and Vendor Employee.

• Does not include those who resigned, retired, or otherwise left the
  district without being terminated from employment by CPS, a
  charter network, or a vendor.

Office of Inspector General                    Presentation to the Chicago Board of Education re:
                                                                                                                  April 24, 2019
Chicago Board of Education                          OIG Investigations of Sexual Allegations
